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1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
3    Counsel Designated for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
6    Attorneys for Defendant
     CARLOS SARABIA
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           Case No. 1:07-cr-00315-AWI-1
12                             Plaintiff,                STIPULATED MOTION AND ORDER TO
                                                         REDUCE SENTENCE PURSUANT TO 18
13             v.                                        U.S.C. § 3582(c)(2)
14   CARLOS SARABIA,                                     RETROACTIVE DRUGS-MINUS-TWO
                                                         REDUCTION CASE
15                             Defendant.
                                                         Judge: Honorable ANTHONY W. ISHII
16
17             Defendant, CARLOS SARABIA, by and through his attorney, Assistant Federal
18   Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and through its
19   counsel, Assistant U.S. Attorney Kathleen A. Servatius, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On August 2, 2010, this Court sentenced Mr. Sarabia to a term of 128 months

25   imprisonment;

26             3.         His total offense level was 33, his criminal history category was I, and the

27   resulting guideline range was 135 to 168 months;

28

     Stipulation and Order Re: Sentence Reduction           1
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1              4.         The sentencing range applicable to Mr. Sarabia was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973, with an effective date of November 1, 2015;
4              5.         Mr. Sarabia’s total offense level has been reduced from 33 to 31, and his amended
5    guideline range is 120 to 135 months;
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Sarabia’s term of imprisonment to a total term of 120 months.
8    Respectfully submitted,
9    Dated: February 25, 2015                           Dated: February 25, 2015
10   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
11
12   /s/ Kathleen A. Servatius                          /s/ David M. Porter
     KATHLEEN A. SERVATIUS                              DAVID M. PORTER
13   Assistant U.S. Attorney                            Assistant Federal Defender
14   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           CARLOS SARABIA
15
16                                                     ORDER
17             This matter came before the Court on the stipulated motion of the defendant for reduction
18   of sentence pursuant to 18 U.S.C. § 3582(c)(2).
19             The parties agree, and the Court finds, that Mr. Sarabia is entitled to the benefit
20   Amendment 782, which reduces the total offense level from 33 to 31, resulting in an amended
21   guideline range of 120 to 135 months.
22             IT IS HEREBY ORDERED that the term of imprisonment imposed in August 2010 is
23   reduced to a term of 120 months.
24             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
25   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
26   reduction in sentence, and shall serve certified copies of the amended judgment on the United
27   States Bureau of Prisons and the United States Probation Office.
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1              Unless otherwise ordered, Mr. Sarabia shall report to the United States Probation Office
2    within seventy-two hours after his release.
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     IT IS SO ORDERED.
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     Dated:       February 26, 2015
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                                                    SENIOR DISTRICT JUDGE
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     Stipulation and Order Re: Sentence Reduction      3
